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                        IN THE UNITED STATES DISTRJCT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                            CRIMINAL NO.

                                                     DATE FILED:

 DAMARYS NATAL                                       VIOLATION:

                                                     l8 U.S.C. $ 666(a)(1)(B) (federal
                                                     program bribery - I count)
                                                     Notice of forfeiture


                                         INFORMATION

                                           COUNT ONE

THE UIYITED STATES ATTORNEY CHARGES THAT:

        At all times material to this information:

        1.      Defendant DAMARYS NATAL was a Collection Customer Representative for

the City of Philadelphia Law Departrnent, Major Ta.x   Unit. In that capacity,   and as an agent   of

the City ofPhiladelphia, defendant NATAL collected delinquent business tax payments on

Philadelphia properties. NATAL had worked in this capacity for approximately three years.

        2.     The City of Philadelphia constituted an organization or govemment which

received annual benefits in excess of $10,000 in the 2018 and 2019 calendar years under federal

programs, including grants, contracts, subsidies, loans, guarantees, insurance and other forms     of
financial assistance.

       3.      Person #1 owned a building in the 1500 block ofSouth Bailey Street in

Philadelphia. ln or about october 2018, Person #1 sold the building inthe 1500block of South

Bailey Street. Druing the process of selling the building, Person #1 discovered that the city of

Philadelphia had placed liens on the property. The liens on the property were related to
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judgments the City ofPhiladelphia had obtained for unpaid business taxes Person #1 allegedly

owed to Philadelphia.

       4.       The City ofPhiladelphia sent a letter to the title company handling the sale   ofthe

property on the 1500 block of South Bailey Street. The letter advised the title company that the

City would accept payment in the amount of $13,457.37 in fulI settlement of the unpaid business

taxes Person   #l   allegedly owed to Philadelphia. To permit the sale ofthe building in the 1500

block ofSouth Bailey Street to proceed as scheduled in October 2018, Person #1 agreed to place

in escrow $13,457.37 until the tax issue could be resolved.

       5.       On or about May 21, 2019, Person #1 sent an email to an individual in the Major

Tax Unit ofthe City ofPhiladelphia requesting information to set-up a payment arrangement for

the business taxes that the City alleged were outstanding.

       6.       On or about August 21,2019, a person employed by the title company sent an e-

mail to the City of Philadelphia asking for a payoff amount ofthe unpaid business taxes so that

the sale of the property on the 1500 block of South Baily Street could be completed.

       7.           On or about August 23, 2019, defendant DEMARYS      NATAL signed and    sent a

letter from the City of Philadelphia Law Department, Tax and Revenue Department, to the title

company providing the payoff amount that the title company had asked      for. The letter explained
"[t]he City is willing to accept the lump sum payment of $12,314.00 ("Settlement Amount") to

resolve the Municipal Court Code Enforcement ("CE ') judgment referenced above[.]" The letter

also read "Payment must be made by using guaranteed funds . . . Please make check payable to:

"City ofPhiladelphia" and direct the payment to my attention[.]"

       8.       On or about August 26,2019, defendant DEMARYS          NATAL called person #l

directly fiom a City ofPhiladelphia phone number to discuss the settlement amount.
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       9.      Defendant DEMARYS NATAL told Person              #l   in the telephone conversation   of

August 26, 2019 that Person #1 could bring two $500 postal money orders to the Revenue

Department to satisfy the judgment for unpaid business taxes that Person #1 owed. Defendant

NATAL said    she would accept the money orders and promised to resolve the business taxes that

were owed.   NATAL frither advised Person #l that Person #1 should leave blank the payee on

the money orders.

        10.    ln a series oftext messages with Person #1 between August 26 and September 4,

2019, defendant DEMARYS NATAL, while arranging to meet Person #1, repeatedly reminded

Person #1 to bring the two $500 postal money orders to her so that she could handle the

"processing" ofPerson #1's outstanding tax obligation. Defendalt NATAL also repeatedly

reminded Person #1 to leave the payee ofthe money orders blank.

        11.    In a text message to Person #1, defendant DEMARYS NATAL instructed Person

#l to keep the plan to use postal money   orders "between us" so that defendant       NATAL could

reduce the amount   ofthe unpaid business taxes   due to the   City ofPhiladelphia.

       12.     When Person #1 advised defendant DEMARYS NATAL that Person #2 would

bring the postal money orders to a scheduled meeting at defendant NATAL's office in the City

ofPhiladelphia, NATAL instructed Person #1 to "tell her [Person #2] to leave them blank there

[sic] doing us a personal favor so u can get ur $$$ instead of city."

       13.     On or about September 6,2019, defendant DEMARYS              NATAL accepted two

$500 postal money orders from Person #2. NATAL firther advised Person #2 that the two            of

them would pretend that Person #2 was Person      #l   for purposes of completing paperwork

connected to settling the outstanding tax obligation. Defendant      NATAL instructed Person #2 to

sign multiple city documents as Person #1.
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        14.       Defendant DEMARYS NATAL gave Person #2 two pre-printed orders from a

Philadelphia's Municipal Court Judge reflecting that the tax judgments against Person #1 had

both been satisfied. Defendant NATAL also gave Person #2 a handwritten receipt reflecting the

payment of   $I   ,000 towards the associated judgments.   NATAL falsely prepared the receipt to

reflect that another city employee had issued the receipt.

        15.       On September 10,2019, defendant DEMARYS NATAL sigrred and sent via

email a letter to an employee of the title company holding Person #1's funds in escrow stating

"The City is willing to accept a lump sum payment of $3,784.21 ("Settlement Amount") to

resolve the Municipal Court Code Enforcement ("CE") judgments[.]" The Settlement Amount

reflected that NATAL had eliminated monies owed       for unpaid   business taxes, but maintained

the sums owed for remaining tax, interest, and penalties. The letter repeated the explanation that

payments must be made by guaranteed funds and check must be made payable to the City         of

Philadelphia.

        16.       On September 12,2019, defendant DEMARYS NATAL deposited the rwo $500

postal money orders she received from Person #2 into an account she maintained at the

Philadelphia Federal Credit Union. The $500 money orders were both made payable to

DAMARYS NATAL, were allegedly for work done on "Repair/Remodeling" and for

"Flooring," and were allegedly from    a person named "Carlos    Rivera" or "C. Rivera." Person #l

and Person #2 are not "Carlos Rivera," or "C. Rivera," and never used that name with defendant

NATAL.

       17.        In the period beginning on Januuy 1,2018, and ending on September 30,2019,

defendant DEMARYS NATAL maintained bank accounts where she deposited money orders

and,/or checks she obtained as part of her scheme. During 201 8, defendant    NATAL deposited
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such money orders and checks in the amount of$500 a total        of   18 times, in the amount   of$1,000

a   total ofthree times, and in the amount of$600 a total of four times, for a total of$14,400.

During 2019, defendant NATAL deposited such money orders and checks in the amount of$500

a   total of ten times, in the amount of $1,000 a total of six times, and in the amount of $600 a total

of two times, for a total of $ 12,200 that year. These deposits, totaling $26,600, reflected bribes

that NATAL solicited and received in 2018 and 2019 fiom others to reduce their tax liability to

the City of Philadelphia.

          18.    Beginning on or about February 7, 2018, and continuing through September 19,

2019, in the City of Philadelphi4 in the Eastem District ofPennsylvani4 and elsewhere,

defendant

                                         DAMARYS NATAL,

while acting   as an agent the   City ofPhiladelphi4 which received benefits of over $10,000 in a

one-year period under a federal pro$am involving a grant, contract, subsidy, loan and other form

of federal assistance, corruptly solicited, demanded for the benefit ofany person, accepted, and

agreed to accept a thing ofvalue, that is, United States Postal money orders and checks from

Person #1, Person #2, and others, intending to be influenced and rewarded in connection with a

transaction and series oftransactions ofthe City of Philadelphia involving $5,000 or more.

                 In violation of Title 18 United Stares Code, Section 666(a)(1XB), (b).




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                                      NOTICE OF FORFEITURE

THE   Ii\ITEI)      STATES ATI'OR\EY Tf RTHI]R CHARGES'IHAI':

        I   .      As a result of the violation of Title 1 8. United States Code, Section 666, set forth

in this information, defendant

                                          DAMARYS NATAL

shall forfeit to the United States of America any property, real or personal, which represents or is

is traceable to the gross receipts obtained directly or indirectly from such violations, including,

but not limited to, the sum of $26,600, and:

       2.          Ifany ofthe property subject to forfeiture,   as a result   ofany act or omission ofthe

defendant:

                           (a) cannot be located upon the exercise of due diligence;

                           (b) has been transferred or sold to, or deposited with, a third party;

                           (c) has been placed beyond the jurisdiction ofthe Court;

                           (d) has been substantially diminished in value; or

                           (e) has been commingled with other property which carurot be divided

                           without difficulty;

it is the intent ofthe United   States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture ofany other

property ofthe defendant up to the value ofthe property subject to forfeiture.




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                All   pursuant to Title 28, United States Code, Section 2461(c) and   Title   18, United

States Code, Section 98 1 (a)(1 )(D).




                                                              A TRUE BILL:


                                                              2rz            L.-------)
                                                              WILLIAM     M. McSWAIN
                                                              United States Attorne]




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No._ _ _ _ _ _ _ _ _ _
               UNITED STATES DISTRICT COURT

                       Eastern District of Pennsylvania

                                   Criminal Division


               THE UNITED STATES OF AMERICA
                                                     v.

                                  DAMARYS NATAL

                                   INFORMATION

     18 U.S.C. § 666(a)(1)(B) (federal program bribery – 1 count)
                         Notice of forfeiture


                                           A true bill.

                    _____________________________________________________________________
                                           Foreman

         Filed in open court this _________________________________day,
               Of ________________________A.D. 20_____________
          __________________________________________________________________________________________
                                             Clerk
                                                                                                       Case 2:20-cr-00335-PBT Document 1 Filed 09/29/20 Page 8 of 8




                               Bail, $ ___________________________
